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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 ZAYN AL ABIDIN MUHAMMAD
 HUSAYN (ISN #10016),

                  Petitioner,
 v.                                   No 08-cv-1360 (EGS)
 LLOYD AUSTIN, et al.,

                  Respondents.


                     MEMORANDUM OPINION AND ORDER


      Zayn Husayn, also known as Abu Zubaydah, (“Petitioner”) has

been a detainee at the United States Naval Base in Guantanamo

Bay, Cuba (“Guantanamo”) since September of 2006, having been

captured on or about March 28, 2002 in Faisalabad, Pakistan and

held at various “secret black sites” until his transfer to

Guantanamo. His detention is based on Respondents’ allegation

that he was part of, and substantially supported, al Qaeda and

associated forces.

      On August 31, 2021, President Biden delivered remarks

declaring the war in Afghanistan to be over. See Remarks by

President Biden on the End of the War in Afghanistan (Aug. 31,

2021), available at https://www.whitehouse.gov/briefingroom/

speeches-remarks/2021/08/31/remarks-by-president-biden-on-the-

end-of-the-war-inafghanistan/ (“My fellow Americas, the war in

Afghanistan is now over.”). Based on earlier similar remarks by
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the President and the expectation that U.S. troops would be

fully withdrawn by September 11, 2021, Petitioner moves for

immediate release, arguing that the government no longer has

authority to detain him. See generally Pet’r’s Mot. for an Order

Requiring his Immediate Release and Repatriation (“Pet’r’s

Mot.”), ECF No. 576. Respondents oppose, arguing that their

authority to detain under the 2001 Authorization for the Use of

Military Force (“2001 AUMF”) has not lapsed because active

hostilities are ongoing. See generally Resp’ts’ Opp’n, ECF No.

578. 1

         Upon careful consideration of Petitioner’s motion,

Respondents’ opposition, the reply 2 thereto, the surreply, the

sursurreply, and the applicable law, the Court DENIES

Petitioner’s motion.




1 The final withdrawal of U.S. forces from Afghanistan on
September 11, 2021 has rendered moot certain the arguments in
the parties’ briefing materials. Accordingly, the Court does not
address those arguments.
2 The Court GRANTS Petitioner’s request to amend his motion nunc

pro tunc to request oral argument, Reply, ECF No. 585 at 1 n.1;
but finds the request moot in view of this Memorandum Opinion
and Order.

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I.   Detention Authority

     The 2001 Authorization for Use of Military Force (“AUMF”)

permits the President “to use all necessary and appropriate

force against those nations, organizations, or persons he

determines planned, authorized, committed, or aided the

terrorist attacks that occurred on September 11, 2001, or

harbored such organizations or persons.” Authorization for Use

of Military Force, Pub. L. No. 107-40, § 2(a), 115 Stat. 224

(2001). In the 2012 National Defense Authorization Act (“2012

NDAA”) Congress reaffirmed “the authority of the President to

use all necessary and appropriate force pursuant to the [AUMF],”

including “[d]etention under the law of war without trial until

the end of the hostilities authorized by the [AUMF].” National

Defense Authorization Act for Fiscal Year 2012, Pub. L. No. 112-

81 § 1021(a), (b)(2), (c)(1), 125 Stat. 1298, 1562.

     “The AUMF authorizes detention for the duration of the

conflict between the United States and the Taliban and al

Qaeda.” Al-Alwi v. Trump, 901 F.3d 294, 299 (D.C. Cir. 2018);

see also Uthman v. Obama, 637 F.3d 400, 402 (D.C. Cir. 2011)

(citing Hamdi v. Rumsfeld, 542 U.S. 507, 518 (2004)(“The AUMF,

among other things, authorizes the Executive Branch to detain

for the duration of hostilities those individuals who are part

of al Qaeda or the Taliban.”)). “Neither [the AUMF nor the 2012

NDAA] places limits on the length of detention in an ongoing

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conflict.” Id. at 297. “[T]he AUMF remains in force if

hostilities between the United States and the Taliban and al

Qaeda continue.” Id. (citing Ali v. Obama, 736 F.3d 542, 552

(D.C. Cir. 2013)(“[T]he 2001 AUMF does not have a time limit,

and the Constitution allows the detention of enemy combatants

for the duration of hostilities.”)).

     “It is a clearly established principle of the law of war

that detention may last no longer than active hostilities.”

Hamdi v. Rumsfeld, 542 U.S. 507, 520 (2004) (citing Article 118

of the Geneva Convention (III) Relative to the Treatment of

Prisoners of War, Aug. 12, 1949 [1955] 6 U.S.T. 3316, 3406,

T.I.A.S. No. 3364 (“Prisoners of war shall be released and

repatriated without delay after the cessation of active

hostilities”)). “The “termination” of “[t]he state of war ... is

a political act.” Ludecke v. Watkins, 335 U.S. 160, 168–69

(1948) (internal quotation marks omitted). “Whether and when it

would be open to th[e] [c]ourt[s] to find that a war though

merely formally kept alive had in fact ended, is a question too

fraught with gravity even to be adequately formulated when not

compelled.” Id. at 169. “The determination of when hostilities

have ceased is a political decision, and we defer to the

Executive’s opinion on the matter, at least in the absence of an

authoritative congressional declaration purporting to terminate

the war.” Al-Bihani v. Obama, 590 F.3d 866, 874 (D.C. Cir. 2010)

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(citing Ludecke, 335 U.S. at 168-170. When “the Executive Branch

represents, with ample support from record evidence, that the

hostilities described in the AUMF continue[,] [i]n the absence

of a contrary Congressional command, that controls.” Al-Alwi,

901 F.3d at 300 (citing Ludecke, 335 U.S. at 168-170).

II.   Discussion

      Petitioner moves for immediate release, arguing that the

government no longer has the authority to detain him because:

(1) the political decision has that the war is over has been

made as evidenced by President Biden’s statements; and (2) “the

United States has defeated al Qaeda in Afghanistan and there are

no active hostilities.” Pet’r’s Mot., ECF No. 576-1 at 8. 3

      The Court considers whether Petitioner’s detention is

authorized pursuant to the governing statutes described above,

informed by the law of war.

      A. Petitioner’s Detention Is Authorized By the AUMF

      Petitioner disputes that the authority to detain him

derives from the AUMF because the Factual Return does not assert

that he had any role in the September 11 attacks. Sursurreply,

ECF No. 600 at 3, 18. Petitioner’s position is, however,

inconsistent with well-settled legal precedent. As explained




3When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.

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above, “[t]he AUMF authorizes detention for the duration of the

conflict between the United States and the Taliban and al

Qaeda.” Al-Alwi, 901 F.3d at 299. Respondents’ Factual Return

alleges that “Petitioner is detained because he was part of and

substantially supported [al Qaeda 4] and associated forces.”

Opp’n, ECF No. 578 at 24. While Petitioner disputes that he was

a part of or substantially supported al Qaeda, clearly the

asserted basis for the Executive Branch’s authority to detain

him is the AUMF.

     B. The Authority to Detain Individuals Under the AUMF Is Not
        Limited To the Conflict in Afghanistan

     Petitioner contends that the authority to detain under the

AUMF is limited to the conflict in Afghanistan. Reply, ECF No.

585 at 18-19. However, the AUMF contains no geographical

limitation. As persuasively explained by another Judge on this

Court:

          The 2001 AUMF was a sweeping delegation of
          power   that,   on   its   face,   contains  no
          geographical limitation. See Pub. L. No.
          107-40, § 2(a), 115 Stat. at 224. As
          Respondents point out, that is significant.
          See Resp'ts’ Br. at 7. Congress has routinely
          placed    geographic     boundaries    on   its
          authorizations for the use of military force.
          In the 2002 Authorization for Use of Military
          Force in Iraq (“Iraq AUMF”), for example,
          Congress limited the President's use of force
          to the “threat posed by Iraq.” Authorization

4 Throughout this Memorandum Opinion and Order, the Court uses
the spelling of al Qaeda used by the Court of Appeals for the
District of Columbia Circuit.

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          for Use of Military Force Against Iraq
          Resolution of 2002, Pub. L. No. 107-243, §
          3(a)(1), 116 Stat. 1498. Earlier, in 1983,
          Congress limited the President's authority to
          exercise his war powers in the Lebanon War to
          “continu[ing] participation by United States
          Armed Forces in the Multinational Force in
          Lebanon.” Joint Resolution, Pub. L. No. 98-
          119, § 3, 97 Stat. 805 (1983) (emphasis
          added).

          In contrast, the 2001 AUMF is not limited by
          geography, but empowers the President to use
          force wherever he may find the “nations,
          organizations, or persons” who “planned,
          authorized, committed, aided” the September 11
          terrorist attacks and those who harbored them.
          Pub. L. No. 107-40, § 2(a), 115 Stat. at 224.
          Unlike the Iraq AUMF or the 1983 Joint
          Resolution, there is simply no statutory hook
          for [Petitioner's] argument that the 2001 AUMF
          is limited to hostilities in Afghanistan.

Gul v. Biden, Case No. 16-CV-01462 (APM), 2021 WL 5206199, * 2

(D.D.C. November 8, 2021).

     Turning to caselaw, Petitioner points out that in Hamdi,

the Supreme Court interpreted the 2001 AUMF to authorize

“detention of [those] individuals . . . for the duration of the

particular conflict in which they were captured,” 542 U.S. at

518 (emphasis added); and argues that “[i]n every case

considering the ‘end of hostilities’ question raised by a

Guantanamo detainee, the court has always conducted the analysis

with respect to whether the U.S. forces were engaged in




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hostilities in Afghanistan,” Reply, ECF No. 585 at 18 (citing

Al-Alwi, 901 F.3d at 298; Al-Bihani, 590 F.3d at 874. 5

     For the reasons explained below, the Court does not read

these authorities to limit geographically the “sweeping

delegation of power” in the AUMF. Furthermore, the cases upon

which Petitioner relies are distinguishable because it is

unclear whether in any of the cases an argument was made that

either the AUMF or the particular conflict for which the

respective Petitioners were detained was limited to Afghanistan.

     In Hamdi, the Petitioner was an American citizen alleged to

have taken up arms with the Taliban in Afghanistan the aftermath

of the terrorist attacks of September 11, 2001. See Hamdi, 542

U.S. at 510. This factual underpinning informed the Supreme

Court’s conclusion that his detention was authorized by the

AUMF: “The United States may detain, for the duration of these

hostilities, individuals legitimately determined to be Taliban

combatants who ‘engaged in an armed conflict against the United

States.’ If the record establishes that United States troops are

still involved in active combat in Afghanistan, those detentions

are part of the ‘necessary and appropriate force,’ and therefore

are authorized by the AUMF.” Id. at 521.




5 The Court addresses only the mandatory authority cited by
Petitioner.

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     In Al-Alwi, the Court of Appeals for the District of

Columbia Circuit (“D.C. Circuit”) rejected the Petitioner’s

argument that the authority to detain him had “unraveled” due to

the duration of the “Afghanistan-based conflict” on the grounds

that “‘[a]ctive combat operations against Taliban fighters

apparently are ongoing in Afghanistan.’” Al-Alwi, 901 F.3d at

298 (quoting Hamdi, 542 U.S. at 521).

     Finally, in Al-Bihani, the D.C. Circuit affirmed the denial

of the petition for a writ of habeas corpus, disagreeing with

Petitioner’s argument there that the conflict with the Taliban

had ended, citing the number of U.S. and Coalition troops in

Afghanistan. 590 F.3d at 874. In response to a similar argument

made to another Judge on this court, he persuasively concluded

that:

             the consequences of this court magnifying the
             D.C. Circuit's passing reference to “in
             Afghanistan” to a statement restricting the
             scope of the Executive's power to wage
             congressionally authorized war are simply
             incredible. [Petitioner] would have this court
             read Al-Bihani to stand for the proposition
             that all war-on-terror detainees arrested in
             Afghanistan are no longer lawfully detained.
             That the court cannot do when, as here, its
             authority is at its nadir, and neither a
             higher court, Congress, nor the Executive has
             geographically bound the relevant conflict to
             Afghanistan. See Ludecke, 335 U.S. at 170
             (“These are matters of political judgment for
             which judges have neither technical competence
             nor official responsibility.”).

Gul, 2021 WL 5206199, *3.

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     Petitioner notes that the Factual Return “focus[es]

overwhelmingly on his alleged hostile activities in or related

to Afghanistan and Khaldan training camp.” Reply, ECF No. 585 at

14 n.70. However, the Factual Return alleges activities and

plans beyond Afghanistan—specifically in Pakistan and Iran. See

Factual Return, ECF No. 474-1 at 35-40 (travel between Pakistan

and Afghanistan); 62 (entry in Petitioner’s diary regarding

creating a cell in Iran “and meet with group which [would] work

in Palestine, without the knowledge of the Iranian government”).

Furthermore, Petitioner is alleged to be part of and to have

substantially supported al Qaeda, which as explained infra,

operates out of Afghanistan and elsewhere.

     Petitioner acknowledges that “the purpose of detention is

to prevent captured individuals from returning to the field of

battle and taking up arms again,” Sursurreply, ECF No. 600 at 9

(quoting Hamdi, 542 U.S. at 518); but asserts that since the war

in Afghanistan has ended, there is no battlefield for Petitioner

to return to, id. The Court disagrees. Respondents have, as

explained in detail below, provided ample support for the

representation that al Qaeda still operates in Afghanistan and

elsewhere.

     For these reasons, the Court concludes that Respondents’

authority to detain Petitioner is not limited to the conflict in

Afghanistan.

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     C. Hostilities Against al Qaeda, and Associated Forces
        Remain Ongoing in Afghanistan and Elsewhere

     Petitioner contends that “the United States has defeated al

Qaeda in Afghanistan and there are no active hostilities.”

Pet’r’s Mot., ECF No. 576-1 at 8.

     As explained supra, “[t]he AUMF authorizes detention for

the duration of the conflict between the United States and the

Taliban and al Qaeda.” Al-Alwi, 901 F.3d at 299. Where “the

Executive Branch represents, with ample support from the record

evidence, that the hostilities described in the AUMF continue,”

the Court must defer to the Executive Branch’s determination.

Id. at 300. 6 Here, as set forth below, the record amply supports

the Executive Branch’s representation that hostilities against

al Qaeda have not ceased.

     On September 28, 2021, the Chairman of the Joint Chiefs of

Staff, in testimony before the Senate Armed Services Committee

testified as follows: “[T]he Al Qaeda threat globally is still

there. The threat in Afghanistan has an opportunity now to

potentially reconstitute, although it’s been ripped apart pretty

steadily over 20 years. And Al Qaeda has displaced to other

parts of the world . . . [T]here’s several affiliates worldwide,


6 Respondent does not dispute the role of the court in reviewing
the support in the record evidence supporting the Executive
Branch’s representations here. See, e.g., Surreply, ECF No. 590
at 7. Accordingly, the Court declines to address Respondents’
separation of powers argument.

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some of which are quite capability [sic] and definitely have

aspirations to attack the United States.” Bloomberg Government,

Testimony before the Senate Armed Services Committee Hearing

(Sept. 28, 2021), ECF No. 590-4 at 94. “Al Qaeda is still in

Afghanistan. They were there in mid-August.” Id. at 47. “I

believe al Qaeda is in Afghanistan. I believe they have

aspirations to reconstitute and if they develop the capability I

believe they have aspirations to strike. It’s too early in the

process right now . . . to determine the capability. But I do

believe they exist. … I think al Qaeda is at war with the United

States, still. And never has not been.” Id. at 71.

     At the same hearing, General McKenzie, Commander, U.S.

Central Command, testified as follows: “Al Qaeda . . . maintains

a presence in Afghanistan.” Id. at 92. We know that Al Qaeda is

“gathering their strength, but we have yet to see how that’s

going to manifest itself, but we know for certainty [sic] that

they do aspire to attack us in our own land.” Id. “So, that

threat, it has metastasized and it is resident in other parts of

the world … [and] it certainly is in Afghanistan.” Id.

     Furthermore, Secretary of Defense Austin testified that

days before the September 28, 2021 hearing, a Senior al Qaeda

figure in Syria was killed in an “over-the-horizon operation.”

Id. at 11.




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     On September 9, 2021, President Biden reaffirmed that

“[t]he terrorist threat that led to the declaration on September

14, 2001 of a national emergency continues.” Letter to the

Speaker of the House of Representatives and the President of the

Senate on the Continuation of the National Emergency with

Respect to Certain Terrorist Attacks (Sept. 9, 2021), ECF No.

590-9 at 2.

     Respondents also point to the two classified declarations

submitted with their Surreply that “further detail the nature of

the current ongoing conflict against [al Qaeda] and associated

forces in areas of Africa and the Middle East, including

Afghanistan, noting specifically that U.S. forces remain engaged

in active hostilities with [al Qaeda] and associated forces in

these regions.” Surreply, ECF No. 590 at 19. The Court has

reviewed the classified declarations and finds that they support

the statements made.

     The 2021 annual report of worldwide threats to the national

security of the U.S. states as follows:

          [Al Qaeda’s] senior leadership cadre has
          suffered severe losses in the past few years,
          but   remaining    leaders   will   encourage
          cooperation among regional elements, continue
          calls for attacks against the United States
          and other international targets, and seek to
          advance plotting around the world. [Al
          Qaeda’s] regional affiliates will exploit
          local conflicts and ungoverned spaces to
          threaten US and Western interests, as well as
          local governments and populations abroad.

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          [Al Qaeda’s] affiliates in the Sahel and
          Somalia have made gains during the past two
          years, but the group experienced setbacks
          elsewhere, including losing key leaders or
          managing only limited operations in North
          Africa, South Asia, Syria and Yemen.

Office of the Director of National Intelligence, Annual Threat

Assessment (Apr. 9, 2021), ECF No. 590-10 at 24.

     Respondents further state that “[al Qaeda] considers its

war against the United States to continue and remains intent on

perpetrating attacks against the United States,” Surreply, ECF

No. 590 at 20; citing a video released on September 11, 2021

featuring al Qaeda’s current leader, Ayman al-Zawahiri, see

FDD’s Long War Journal, Ayman al Zawahiri promotes “Jerusalem

Will Not Be Judaized” campaign in new video (Sept. 11, 2021)

(“Long War Journal”), ECF No. 590-12; see also Congressional

Research Service, Al Qaeda: Background, Current Status, and U.S.

Policy (“CRS Report”) (June 14, 2021), ECF No. 590-11 at 2 (“[Al

Qaeda’s] leader, or emir, is Ayman al Zawahiri, an Egyptian who

succeeded Bin Laden.”). The article describing the video

reports, among other things, that al-Zawahiri states that “[w]e

must fight the battle on different fronts,” id. at 7; “[w]e must

understand that repelling this Crusader campaign entails the

efforts of successive generations,” id. at 8; that “operations

on enemy soil and beyond enemy lines” are important, id.; and




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that “[w]e are a united Ummah, waging one war on different

fronts,” id.

     According to the June 2021 CRS Report cited supra,

          U.S. officials assess that many [al Qaeda]
          core leaders are based in Afghanistan, where
          the   group   has   been   weakened   but  not
          eliminated. According to a December 2020
          Department of Defense (DOD) report, “[Al
          Qaeda’s] remaining core leaders pose a limited
          threat to U.S. coalition forces in Afghanistan
          because   they   are   focused   primarily  on
          survival.”

          The Taliban committed to preventing [a]l Qaeda
          from using Afghan soil as part of the February
          2020 U.S.-Taliban agreement under which U.S.
          troops are being withdrawn from Afghanistan.
          Still, [a]l Qaeda’s decades-long ties with the
          Taliban appear strong.

CRS Report, ECF No. 590-11 at 2-3. The Report notes that that

there are a number of al Qaeda affiliates throughout the Middle

East and Africa. Id. at 3. The Report states that the U.S. “has

conducted airstrikes on [al Qaeda] targets in at least seven

countries since 2012, and U.S. forces have engaged in ground

combat against [al Qaeda] in Afghanistan, Somalia and Yemen in

recent years,” id.; and that in addition to direct military

action, “the U.S. seeks to combat [a]l Qaeda and other terrorist

threats ‘by, with, and through’ local partners [and that] [al

Qaeda]-linked groups are a leading threat to, and target of,

countries to which the U.S. has provided millions of dollars in

security assistance,” id.


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     According to a June 1, 2021 Analytical Support and

Sanctions Monitoring Team Report to the United Nations Security

Council, “[l]arge numbers of [al Qaeda] fighters and other

foreign extremist elements aligned with the Taliban are located

in various parts of Afghanistan.” Report of the Analytic Support

and Sanctions Monitoring Team, U.N. Doc. S/2021/486 (June 1,

2021), ECF No. 590-13 at 4.

     Finally, on June 8, 2021, the President reported the

following military actions against al Qaeda: (1) “working by,

with, and through local partners in conducting airstrikes and

other necessary operations . . . against [al Qaeda] in Syria”;

and (2) “[a] small number of United States military personnel

are deployed in Yemen to conduct operations against [al Qaeda]

in the Arabian Peninsula.” Letter from the President, Letter to

the Speaker of the House and President Pro Tempore of the Senate

Regarding the War Powers Report (June 8, 2021), ECF No. 590-16

at 3, 4.

     In support of his contention that al Qaeda has been

defeated and there are no active hostilities, Petitioner cites

book reviews and news reports to support the proposition that

“the al Qaeda that existed when [Petitioner] was captured and

almost killed way back in 2002 no longer exists [because it] has

morphed into a shadowy and ill-defined network in quasi-

franchise form all over the world.” Reply, ECF No. 585 at 16.

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However, the Executive Branch’s evidence set forth above

demonstrates that al Qaeda is anything but “shadowy” and “ill-

defined.”

     Petitioner rejects Respondents’ position that his detention

would remain authorized if, for example, hostilities broke out

between the U.S. and the al Qaeda affiliate in Somalia because

he is being “imprisoned on account of his allegedly hostile

activities in Afghanistan.” Reply, ECF No. 585 at 16. However,

and as explained above, Petitioner’s detention is based on his

allegedly being part of and substantially supported al Qaeda and

associated forces, not because the allegations occurred in

Afghanistan. Furthermore, Petitioner’s reliance of al Odah v.

United States is entirely misplaced. In al Odah, the Court

declined entirely to address the merits of Petitioner’s request

that the Court order his immediate release and repatriation upon

the cessation of active hostilities Afghanistan on the ground

that the the issue was not yet ripe. 62 F. 3d 101, 109 (D.D.C.

2014).

     Petitioner argues that “that the original al Qaeda no

longer exists” because all of the al Qaeda leaders other than

Ayman al-Zawahiri, who is rumored to have died, have either been

killed or captured. Sursurreply, ECF No. 600 at 9-10. However,

as explained supra, Respondent has provided evidence of a

September 11, 2021 video in which al-Zawahiri states, among

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other things, “[w]e must fight the battle on different fronts.”

Long War Journal, ECF No. 590-12 at 7. More generally, and as

explained in detail supra, hostilities against al Qaeda have not

ceased. Respondent acknowledges that “[al Qaeda’s] remaining

core leadership has been degraded and currently posts a more

limited threat to the U.S. homeland” but represents, and

provides support in the record, that the existing “leadership

continues to assert direction for, seek the loyalty of, and

encourage cooperation and growth among regional [al Qaeda]

affiliates, which continue to pursue recruitment and plotting,

especially in unstable or vulnerable areas, and threaten local

U.S. personnel, interests, and partners.” Surreply, ECF No. 590

at 19 (citing Annual Threat Assessment at 23.)

     Petitioner also asserts that “when the government speaks of

al Qaeda, it often fails to identify precisely which entity it

is referring to, even though it has the burden of proof to do

so.” Id. at 4. Petitioner points to a 2005 document entitled

“The History of al Qaeda,” prepared by a scholar and Near and

Middle East expert for the Office of Net Assessment in the

Department of Defense. 7 Sursurreply, ECF No. 600 at 10 n.14. In


7The Office of Net Assessment “provide[s] long-term comparative
assessments of trends, key competitions, risks, opportunities,
and future prospects of U.S. military capability to the
Secretary of Defense and Deputy Secretary of Defense.” See
https://www.defense.gov/About/Office-of-the-Secretary-of-
Defense/Office-of-Net-Assessment/, last visited May 26, 2022.

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this report, the author argues that U.S. officials have had a

poor understanding of al Qaeda for most of the time it has

existed. Sursurreply, ECF No. 600 at 10. Based on this

assessment, Petitioner disputes that it is appropriate for

Respondent to “insist now, without providing even an iota of

proof, that every group that decides to assume the al Qaeda name

for whatever reasons (because using the same aids in recruiting

fighters and provides cachet, etc.), is indeed part of the

original al Qaeda.” Id. at 13. The Court disagrees. Respondents

have described in detail the current status of al Qaeda in

Afghanistan, the various al Qaeda affiliates, and the

relationship between those affiliates and al-Zawahiri.

     Petitioner complains that Respondents have failed to

provide information “on exactly what ‘military operations

against al-Qaeda and associated forces’ are still being

conducted by U.S. forces in Afghanistan.” Sursurreply, ECF No.

600 at 8. However, whether or not such military operations are

being conducted in Afghanistan is beside the point since as

explained supra, Petitioner’s detention is not based on whether

military operations against al Qaeda and associated forces in

Afghanistan.

     For all of these reasons, and in view of the deference due

to the Executive Branch’s determination, the Court concludes




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that hostilities against al Qaeda and associated forces remain

ongoing. 8

III. Conclusion and Order

     For the reasons stated above, it is hereby

     ORDERED that Petitioner’s Motion for an Order Requiring his

Immediate Release and Repatriation, ECF No. 576, is DENIED.

     SO ORDERED.

Signed:      Emmet G. Sullivan
             United States District Judge
             June 10, 2022




8 The Court need not address Respondents’ arguments regarding
Army Regulation 190-8, ECF No. 578 at 40-51; as Petitioner does
not invoke it as a source of his rights, Reply, ECF No. 585 at
25.

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